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    12
                            UNITED STATES DISTRICT COURT
    13
                          CENTRAL DISTRICT OF CALIFORNIA
    14

    15
         KEVIN RISTO, on behalf of himself             Case No. 2:18-cv-07241-CAS-PLA
    16   and all others similarly situated,
    17                  Plaintiff,                     PROOF OF SERVICE
   18    vs.                                           [Los Angeles County Superior Court
   19    SCREEN ACTORS GUILD-                          Case No. BC710739]
         AMERICAN FEDERATION OF
   20    TELEVISION AND RADIO
         ARTISTS, a Delaware corporation;
   21    AMERICAN FEDERATION OF
         MUSICIANS OF THE UNITED
   22    STATES AND CANADA, a California
         nonprofit corporation* RAYMOND M.
   23    HA R, JR., an individual, as Trustee of
         the AFM and SAG-AFTRA Intellectual
   24    Property Rights Distribution Fund;
         TINO GAt^IARDI, an individual, as
   25    Trustee of the AFM and SAG-AFTRA
         Intellectual Property Rights
   26    Distribution Fund; DUNCA N
         CRABTREE-IRELAND, an individual,
   27    as Trustee of the AFM and SAG-
         AFTRA Intellectual Property Rights
   28    Distribution Fund; STEFANIE TAUB,

                                                   1
                                         PROOF OF SERVICE
Case 2:18-cv-07241-CAS-PLA Document 15 Filed 09/07/18 Page 2 of 3 Page ID #:129


     1   an individual, as Trustee of the AFM
         and SAG-AFTRA Intellectual Property
    2    Rights Distribution Fund; JON JOYCE,
         an individual, as Trustee of the AFM
    3    and SAG-AFTRA Intellectual Property
         Rights Distribution Fund; BRUCE
    4    BOUTON, an individual, as Trustee
         of the AFM and SAG-AFTRA
    5    Intellectual Property Rights
         Distribution Fund; and DOE
    6    DEFENDANTS 1-10,
    7                       Defendants.
    8
    9                                     PROOF OF SERVICE
   10          I am a citizen of the United States and resident of the State of California. I
   11    am employed in Los Angeles, State of California, in the office of a member of the
   12    bar of this Court, at whose direction the service was made. I am over the age of
   13    eighteen years and not a party to the within action.
   14          On September 4, 2018,1 served the following documents in the manner
   15    described below:
                                         NOTICE TO COUNSEL
   16
   17     □      BY ELECTRONIC TRANSMISSION - I transmitted a PDF version of this
                 document by electronic mail to the party(s) identified on the service list below using
   18            the email address(es) indicated.
   19     0      (BY OVERNIGHT MAIL) 1 am personally and readily familiar with the business
   20            practice of Jenner & Block LLP for collection and processing of correspondence for
                 overnight delivery, and 1 caused such document(s) described herein to be deposited
   21            for delivery to a facility regularly maintained for overnight delivery.
   22    □       (BY HAND DELIVERY) Envelope to be delivered by hand to the following
                 address:
   23
   24
   25
   26
   27
   28

                                                        2
                                               PROOF OF SERVICE
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    1   On the following parties:
    2
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    9                                                         Fax: 310-975-1095
                                                           Beverly Hills, CA 90210
   10

   11                                Attorneys for the Plaintiffs

   12
              I declare under penalty of perjury under the laws of the United States of
   13
        America that the foregoing is true and correct.
   14
              Executed on September 4, 2018, in Los Angele^i!^Hfbmia;
   15

   16                                            By:
                                                          Laura S^tZmf
   17

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                                          PROOF OF SERVICE
